Case 1:23-cv-00108-LMB-JFA Document 1040-3 Filed 07/26/24 Page 1 of 80 PageID# 78164


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    1                     HIGHLY CONFIDENTIAL

    2    UNITED STATES DISTRICT COURT

    3    FOR THE EASTERN DISTRICT OF VIRGINIA

    4    ALEXANDRIA DIVISION

    5    ------------------------------------------

    6    UNITED STATES OF AMERICA, et al,

    7                             Plaintiff,

    8                 vs.         Case No.
                                  1:23-cv-00108-LMB-JFA
    9    GOOGLE, LLC,

   10                         Defendant.
         ------------------------------------------
   11

   12                **HIGHLY CONFIDENTIAL **

   13

   14           REMOTE VIDEOTAPED DEPOSITION OF

   15                         KEN BLOM

   16

   17

   18

   19                Tuesday, August 29, 2023

   20                     12:37 p.m. (EDT)

   21

   22

   23    Reported by:

   24    Joan Ferrara, RMR, FCRR

   25    Job No. 2023-908869
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    1               K. BLOM - HIGHLY CONFIDENTIAL

    2           Q       And do you understand that the

    3    information you provide during this

    4    deposition may be used by the Department of

    5    Justice in other civil, criminal,

    6    administrative or regulatory cases or

    7    proceedings?

    8           A       Yes.

    9           Q       Right.    And do you have any

   10    other questions as we get started?

   11           A       No.    Let's do it.

   12           Q       All right.    So to begin -- to

   13    begin, could you state your name?

   14           A       Yeah.    Kenneth Blom.

   15           Q       Okay.    And what do you do for

   16    work?

   17           A       I work in advertising.     I am the

   18    EVP of strategy and operations at BuzzFeed,

   19    Inc.

   20           Q       Okay.    And where were you born

   21    and raised?

   22           A       Rochelle Park, New Jersey --

   23    born and raised in Rochelle Park, New

   24    Jersey.      I was born in Meadowlands

   25    Hospital, if it's relevant.
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    2            Q         And can you walk me through your

    3     education background?

    4            A         Yeah.       BA in business -- so,

    5     sorry.      Grammar school, high school, went

    6     to Bergen Catholic High School in New

    7     Jersey, went to Moravian College in

    8     Bethlehem, Pennsylvania and graduated with

    9     a business degree there.

   10            Q         And when did you graduate --

   11     graduate college?

   12            A         2007.

   13            Q         All right.       And you're currently

   14     employed at BuzzFeed?

   15            A         Correct.

   16            Q         When did you start there?

   17            A         2012.       2012.

   18            Q         And so before you started at

   19     BuzzFeed, where did you work?

   20            A         I worked at an ad agency called

   21     "Reprise Media."             They're into paid search.

   22            Q         And so how long were you at

   23     Reprise?

   24            A         Three to four years.

   25            Q         Okay.       And, basically, an


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    1                K. BLOM - HIGHLY CONFIDENTIAL

    2     advertising agency?

    3            A         Correct.

    4            Q         And when you were at Reprise,

    5     could you describe your role?                   It looks

    6     like you were focused on social and search?

    7            A         Yeah.       I started as marketing

    8     coordinator, worked on paid search

    9     advertising campaigns.             That was early

   10     days, social, and so cut my teeth on

   11     everything, you know, Facebook and Facebook

   12     ads, you know, as it was happening.

   13            Q         And as part of that role, did

   14     you also do display advertising?

   15            A         It was not in my sort of sphere,

   16     but I was next to agencies that were doing

   17     it.

   18                      So you had an agency that would

   19     do display, an agency that would do paid

   20     search, and then potentially social.                   I was

   21     on the paid search team, but I worked

   22     counterpart with the display team.

   23            Q         So it sounds like as you were

   24     working counterpart, you were still

   25     working --


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    2            A         Yeah.

    3            Q         -- in display advertising?

    4            A         We were -- we were an agency,

    5     and our client was buying both media

    6     tactics from us.             So we spoke quite

    7     frequently.        I just had to focus on the

    8     discipline of search and social.

    9            Q         Got it.

   10                      And so then can you talk to me

   11     about your transition from Reprise to

   12     BuzzFeed in -- around 2012?

   13            A         Yeah, around 2012, I had -- my

   14     boss and two people I worked with at

   15     Reprise go over to BuzzFeed, and they

   16     eventually hired me after about a year.

   17                      And their remit was to sort of

   18     figure out, you know, how do you make

   19     content go viral, how can you get more ad

   20     impressions for advertisers?

   21                      At the time, BuzzFeed, in 2012,

   22     was a small website trying to do a lot of

   23     things.      It was very tech lab and

   24     innovation.        And myself and two other

   25     people were brought on to sort of figure


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    2     out the advertising component of it.

    3            Q         Okay.       And so when you were

    4     brought on, what was your title at that

    5     point?

    6            A         Gosh.       So we called the team

    7     "social discovery."             Social discovery was

    8     exactly what I was describing before, which

    9     is how do you sort of get more eyeballs to

   10     the content that we were creating?                     But I

   11     think I was an associate director.

   12            Q         Perhaps it sounds like a quiz,

   13     but can you walk me through your evolution

   14     at BuzzFeed, the different roles?

   15            A         Yeah, sure.

   16                      So started on this social

   17     discovery team.          I was on that team for --

   18     and, also, sort of still oversee that team

   19     today, but the evolution of it was focusing

   20     on this one part of the business, which is

   21     how do you get more eyeballs to content and

   22     how do you fill advertising campaigns?

   23                      Eventually grew that to the O&O

   24     parts of our website, so a traditional ad

   25     operations that publishers have, I took


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    2     that under myself and I had ad ops and

    3     social discovery, which was sort of

    4     thinking about the own and operated as well

    5     as the social aspect of all things how to

    6     run an ad campaign.

    7                      That's the bulk of about like

    8     six or seven years there.               And then over

    9     time took on more responsibilities, which

   10     would include business development, our

   11     creator's team, our creative branded

   12     content teams, which these are all things

   13     that I oversee today, and then anything

   14     operationally led.

   15                      So as it relates to the business

   16     for BuzzFeed Inc., everything sits under

   17     myself, with the exception of our direct

   18     sales team.

   19            Q         Okay.       And so what's your

   20     involvement with the direct sales team?

   21            A         It's like inextricably linked.

   22     They are our partners.             My team is building

   23     things for them to sell and executing

   24     things that they sell.

   25            Q         We might get into that later --


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    2            A         Yeah, sure.

    3            Q         -- your involvement there.

    4                      And so in your current role in

    5     business operations, are you involved in

    6     BuzzFeed's revenue as well?

    7            A         Very much so.

    8            Q         What would you say your role is

    9     regarding BuzzFeed's revenue stream?

   10            A         99 percent, yeah.

   11            Q         Okay.       99 percent meaning that

   12     99 percent of your job is focused on

   13     building revenue, is that correct?

   14            A         Correct, correct.

   15            Q         So at a high level, tell me

   16     about BuzzFeed's business.

   17            A         Yeah.       So the business of

   18     BuzzFeed, Inc. -- you want to go today or

   19     history or --

   20            Q         Well, let's do the history.

   21     I'll learn a little bit about BuzzFeed.

   22            A         Okay.       Sure.

   23                      So as I mentioned, 2012, we were

   24     a website, but also focusing on social

   25     media and focusing on the virality of


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    2      introduced programmatic advertising and

    3      delivering display ads on BuzzFeed.com.

    4                       Fast forward a few more years,

    5      we've purchased HuffPost, and we're not

    6      just doing what we're doing for BuzzFeed,

    7      Inc. and Tasty, we're also doing it for

    8      HuffPost.

    9                       And then similarly, a year

   10      later, you're doing it with Complex.                We

   11      became a public company.           And everything

   12      under this sphere is making ad revenue on

   13      IP that we develop, ad space that we can

   14      sell, or services that clients would buy

   15      into, like an event or an experience.

   16              Q        And so how important is that ad

   17      revenue to BuzzFeed?

   18              A        Very important.      Yeah, very

   19      important.

   20              Q        So when you're looking at

   21      BuzzFeed's revenue, what percentage of its

   22      revenue is from selling its inventory to

   23      advertisers?

   24                       MR. JUSTUS:   Objection.         Form.

   25     BY MR. GOLD:


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  2              Q        What percentage of BuzzFeed's

  3      revenue is from advertisements?

  4              A        Can you clarify where?

  5              Q        Throughout all of BuzzFeed's

  6      different publishers.            I know you mentioned

  7      a couple of different types.                  You mentioned

  8      Tasty, BuzzFeed.com.

  9              A        Yeah.      I think it would be --

10                        MR. JUSTUS:      Sorry, sorry, and

11               if you can, just give me a beat so I

12               can object.

13                        So objection.        Form.

14                        Go ahead.

15      BY MR. GOLD:

16               Q        You can answer the question.

17                        I can ask you again as well, if

18       it will help you.

19               A        Sure.      Can you ask it again?

20               Q        Sure.

21                        What percentage of BuzzFeed's

22       revenue is from advertising?

23               A        I'd say --

24                        MR. JUSTUS:      Same objection.

25                        Go ahead.


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  2          A                    percent.

  3          Q       Okay.   And what's the other

  4   percentage of BuzzFeed's revenue from?

  5          A       Branded content.

  6          Q       Okay.   And what does branded

  7   content mean?

  8          A       So, to clarify, when you say

  9   "advertising" and I answered, advertising

10    is selling space for inventory that we've

11    created.

12                   Branded content is making

13    content with an advertiser.         It will also

14    sell space for inventory created, but we

15    make the content.

16                   For advertising, the advertiser

17    is just going to place their ad.

18           Q       So what would an example of

19    branded content look like for BuzzFeed?

20           A       Yeah, it would look something

21    like we've made a Tasty video for an

22    advertiser for -- the advertiser is

23    McCormick, and we're going to include their

24    spices, we're going to make the video,

25    distribute the video and the advertiser is
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  2              A        No, not at the moment.

  3              Q        Do you regularly work anywhere

  4      else?

  5              A        New York often.

  6              Q        Okay.      So going back to talk

  7      about BuzzFeed's advertising, with display

  8      advertising, I'm curious to know more about

  9      what types of display advertising BuzzFeed

10       is involved in.

11                        MR. JUSTUS:      Objection.         Form.

12      BY MR. GOLD:

13               Q        So is BuzzFeed involved in open

14       auction display advertising?

15               A        Yes.

16                        MR. JUSTUS:      Same objection.

17      BY MR. GOLD:

18               Q        Is BuzzFeed involved in

19       programmatic advertising?

20               A        Yes.

21               Q        And I know earlier you said it,

22       but BuzzFeed is involved in direct sale

23       advertising?

24               A        Correct.

25                        MR. JUSTUS:      Objection.         Form.


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  2   BY MR. GOLD:

  3           Q       BuzzFeed is also involved in

  4     YouTube and streaming advertisement?

  5                   MR. JUSTUS:    Objection.    Form.

  6           A       Uh-huh.

  7           Q       Audio?

  8           A       Yes, we are, very little.

  9           Q       What percentage of BuzzFeed's

10      revenue comes from Google AdTech?

11                    MR. JUSTUS:    Objection.    Form.

12            A       Yeah, I would have to look, but

13      it's -- yeah, I don't know off the top of

14      my head.

15            Q       Do you have like a ballpark

16      guess?

17                    MR. JUSTUS:    Objection.    Form.

18            A       Close -- close to        percent.

19            Q       And that's close to        percent

20      of BuzzFeed's revenue comes from Google

21      AdTech?

22            A       Not revenue.    It just depends on

23      how you define "advertising revenue," so --

24            Q       I'll follow your definition if

25      you want to tell me how you best define it.
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  2            A       Yeah.   If I were to define it as

  3     display advertising revenue from Google,

  4     to      percent.

  5            Q       Okay.   So I'll shift gears to

  6     talk about publisher ad servers.

  7                    Is that okay?

  8            A       Sure.

  9                    MR. JUSTUS:   I'm sorry, I should

10             have -- I meant to object to the form

11             of the prior question, but go ahead.

12                     MR. GOLD:   Okay.

13    BY MR. GOLD:

14             Q       So some people abbreviate it as

15      "PAS."

16                     Could you tell me what a

17      publisher ad service is?

18             A       Yeah.   So publisher ad server,

19      like Google, would be helping us deliver --

20      you know, if the publisher is the supply

21      side, Google is the ad tech and the

22      infrastructure, or this publisher or ad

23      server is the ad tech and the

24      infrastructure that helps you deliver those

25      ads.
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  2              Q        Okay.      And I think you hinted at

  3      the answer to my next question there, but

  4      for display, what publisher ad server does

  5      BuzzFeed use?

  6              A        Use Google.

  7                       MR. JUSTUS:      Objection.         Form.

  8     BY MR. GOLD:

  9              Q        I think you said, "Use google"?

10               A        Correct.

11               Q        Is there a specific, like,

12       software within Google that you use,

13       maybe --

14               A        Google Ad Manager.

15               Q        All right.      Google Ad Manager.

16                        MR. JUSTUS:      Objection.         Form.

17                        Again, sorry -- and, sorry, can

18               I just pause for a second?

19                        So it would be helpful,

20               Mr. Blom, if you could just pause for

21               a second to allow me to object.

22                        THE WITNESS:       Sure.

23      BY MR. GOLD:

24               Q        So Google Ad Manager, also

25       referred to as "GAM," or "DFP," is that


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  2     right?

  3            A        Correct.

  4            Q        Okay.        Why does BuzzFeed use

  5     Google Ad Manager?

  6            A        Ease of use.        When I think about

  7     ease of use, I think about training people

  8     who have used the service before, and many

  9     have used GAM or DFP.

10                      And then I think about tools and

11      services that come along with it.                      They've

12      spent a lot of time doing this for,

13      obviously, a lot of other publishers and

14      built out a lot of features.

15             Q        What are those other tools and

16      features?

17             A        Just interface or forecasting

18      tools, anything that helps our ad

19      operations team deliver ads.

20             Q        Got it.

21                      Have you ever considered having

22      BuzzFeed build its own publisher ad server

23      and using that instead of Google Ad Manager

24      or DFP?

25                      MR. JUSTUS:        Objection.           Form.


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  2     into each of those different points that

  3     you just flagged.

  4                     So in regards to cost, can you

  5     expand on that?

  6            A        Yes.     So ad serving fees are a

  7     consideration when you're looking at your

  8     ad server.        And so, you know, did they

  9     offer a better rate?

10             Q        Okay.        And it sounds like you've

11      compared GAM's rates to other providers'

12      rates, is that right?

13             A        Only one, and it was many years

14      ago.

15             Q        And, I'm curious, what was that

16      one, and when was that analyzed?

17             A        Smart AdServer.

18             Q        And when did you guys look at

19      Smart?

20             A        I don't remember.

21             Q        Was it three years ago, within

22      the last three years?

23             A        Four plus.

24             Q        Four-plus years ago?

25                      So since looking at it then, you


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  2     haven't looked at alternatives to GAM

  3     since, is that right?

  4            A        Correct.

  5            Q        Do you remember how Smart's

  6     costs compared to Google's cost -- Google

  7     Ad Manager's costs?

  8            A        We never put them head to

  9     head --

10             Q        Okay.

11             A        -- but Smart was offering

12      cheaper than Google.             But we did not get

13      that far down an actual analysis.

14             Q        I know you didn't get to an

15      analysis.

16                      Do you remember how cheaper

17      Smart's was?

18             A        No.

19             Q        Okay.        And then you mentioned

20      other complexities.             You talked about

21      demand issues.

22                      I understand your points today

23      about the demand impacts in creating your

24      own publisher ad server, but can you talk

25      about the worries with switching to another


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  2                     Like how much training would be

  3     required to switch ad servers?

  4                     MR. ARTEAGA:        Objection.           Form.

  5            A        Unclear.        It's just how -- you

  6     know, how do people adopt things?                      Where

  7     does a widget live within this tool versus

  8     that tool?        You know, that there would be

  9     troubleshooting, let's just say six months.

10             Q        Okay.        I'm going to shift to

11      talk about AdX.

12                      Are you familiar with AdX?

13             A        Yes, I am.

14             Q        Okay.        Could you explain AdX to

15      us and your familiarity with it?

16             A        Yeah.        AdX is Google's

17      advertising demand, and we leverage it as a

18      source of demand.

19             Q        Okay.        How would you describe

20      that to a layperson who is not familiar

21      with the ad tech space?

22             A        If you wanted to buy advertising

23      and you logged into Google and, you know,

24      went through their sort of channels, that

25      is the system at which you can buy


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  2     Mr. Justus.

  3           A          to     percent.

  4           Q       Okay.   And how does that compare

  5     to the next largest exchange?

  6                   MR. JUSTUS:    Objection.    Form.

  7           A       Much larger.

  8           Q       Could you give a ballpark?

  9           A       Probably three to four times the

10      next largest partner.

11            Q       Okay.   So I'm thinking, you

12      know, do math on the spot, you know, 40 to

13      50 divided by 3, right, so that would be

14      like -- would you say like 10 to 15 percent

15      is the next largest exchange for BuzzFeed?

16            A       Yeah.

17                    MR. JUSTUS:    Objection.    Form.

18    BY MR. GOLD:

19            Q       Okay.   How unique or not unique

20      is AdX's demand?

21                    MR. JUSTUS:    Objection.    Form.

22            A       I would say it's unique.

23            Q       What makes it unique?

24            A       Google is a large advertiser,

25      right?     They have a lot of small businesses
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  2      that may be buying through AdX versus some

  3      of the other partners that we leverage

  4      maybe for larger ad budgets or larger

  5      spenders.

  6              Q        What would happen to BuzzFeed if

  7      BuzzFeed lost AdX's demand?

  8                       MR. JUSTUS:    Objection.        Form.

  9              A        I would be speculating.          We

10       would have to be finding new sources of

11       demand and working with new partners and

12       trying to grow those partners.

13               Q        What would that process look

14       like?

15                        MR. JUSTUS:    Objection.        Form.

16               A        We would -- we would probably

17       work with our next largest partners to sort

18       of figure out how much more inventory that

19       they can fill knowing we would have more

20       inventory for them.

21               Q        Would they be able to do that?

22               A        Potentially.

23                        MR. JUSTUS:    Objection.        Form.

24      BY MR. GOLD:

25               Q        Do you think that Google's AdX


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  2                       THE VIDEOGRAPHER:            The time is

  3              1:26 p.m., and we're back on the

  4              record.

  5     BY MR. GOLD:

  6              Q        All right.      So you've talked

  7      about costs.         So I want to shift the

  8      conversation to ask you about take rate.

  9                       Are you familiar with the term

10       "take rate"?

11               A        Yes.

12               Q        Can you tell me what take rate

13       is?

14               A        What is the net proceeds to the

15       publisher after all cost for advertising.

16               Q        So would a high take rate be

17       good or bad for BuzzFeed as a publisher?

18               A        It would be a good thing.

19               Q        It would be a good thing.

20                        So it's what BuzzFeed as a

21       publisher is taking from its sales?

22               A        Yes.

23               Q        Okay.      How do AdX's open auction

24       take rates for BuzzFeed compare to other

25       take rates in open auction take rates?


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  2                     MR. JUSTUS:        Objection.          Form.

  3            A        I don't want to comment on other

  4     publishers, but I think we know, like, if

  5     we read the trades, that's what we assume.

  6            Q        And so for the same reason --

  7     you know, you might not want to answer this

  8     question, that's totally fine.

  9                     Are you aware of any publishers

10      who have switched from using Google Ad

11      Manager to using a different publisher ad

12      server?

13             A        I'm not -- I don't know who

14      switched, yeah.

15             Q        How would you characterize

16      Google Ad Manager?

17                      MR. JUSTUS:        Objection.          Form.

18             A        For BuzzFeed, Inc., it is our --

19      our ad serving tool provides good ease of

20      use, and people know how to use it.

21             Q        Okay.        I want to shift to talk

22      about open auction versus direct.

23                      Earlier in our conversation, you

24      mentioned direct.

25             A        Yep.


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  2            Q        Can you explain the differences?

  3            A        Direct sold is going to be our

  4     sales team out there talking to a client,

  5     getting RFPs and, you know, winning deals

  6     in a, what we'll say, compared to

  7     programmatic, a very manual way.

  8                     When they win those deals, it's

  9     going to include any number of products.

10      And as I was kind of mentioning earlier in

11      the call, those products are probably going

12      to be some type of bundle of branded

13      content display -- and I could clarify the

14      difference between traditional display

15      versus custom display -- and, you know,

16      we're trying to package that up for an

17      advertiser.

18                      And the reality is, it's manual,

19      but we're delivering you services in

20      exchange for several products.              Our --

21      yeah.

22                      And open auction, there are no

23      sellers.       There's no communication with us

24      directly.       We don't necessarily know who is

25      buying until after the fact.             And, you


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  2     buckets.       There's open auction, PMP/PG, and

  3     then direct.

  4            Q        And are you familiar with the

  5     term "CPM"?

  6            A        Yes.

  7            Q        What is it?

  8            A        Cost per million.          So, you know,

  9     how many ads are you delivering -- how many

10      ad impressions -- it's how we value and

11      transact on ad impressions in the

12      advertising community.

13             Q        And so how do the CPMs compare

14      for direct display and open auction?

15             A        Yeah, if you want to use my

16      three tiers, direct, PG/PMP and open

17      auction, it's going to go from highest,

18      then direct, to lowest in open auction.

19             Q        So I get like the tier of

20      highest to lowest.           What would the PMP be

21      for direct?

22             A        Direct sold --

23                      MR. JUSTUS:      Objection to form.

24                      THE WITNESS:      Sorry, you're

25             fine.      I'll give you more pause.


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  2          A       Direct sold is going to be,

  3   depending on what they're buying, anywhere

  4   from        to maybe      , on average.

  5                  PG could be exactly the same.

  6                  PMP is probably going to be far

  7   more in that        to      range and potentially

  8   a little bit             in some cases.

  9                  And then open auction is going

10    to be about            to    .

11           Q       All right.    And I'm curious to

12    talk to you about the demand varying

13    between those buckets.

14                   So how much demand would you say

15    there is for direct display compared to how

16    much demand is there for open auction?

17                   MR. JUSTUS:    Objection.    Form.
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25           Q       Okay.
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  2                       (Recess taken 2:04 p.m.)

  3                       (Resumed 2:14 p.m.)

  4                       THE VIDEOGRAPHER:            The time is

  5              2:14 p.m., and we're back on the

  6              record.

  7     EXAMINATION BY

  8     MR. JUSTUS:

  9              Q        Okay.      Mr. Blom, thanks again

10       for sitting for a deposition today.

11                        Do you understand that the rules

12       from earlier still apply?               In particular,

13       you're required to tell the truth?

14               A        Yes, I do.

15               Q        Mr. Blom, are you aware that the

16       DOJ conducted an investigation into

17       Google's ad technology business?

18               A        Yes.

19               Q        Did you meet with the DOJ at any

20       point regarding Google's ad technology

21       business?

22               A        Yes.

23               Q        How many times?

24               A        Twice.

25               Q        So we'll talk about each of them


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  2     hour?

  3            A        How advertising works, a lot of

  4     definition things.           What is BuzzFeed's role

  5     in relation to Google?           Some of the things

  6     that we covered today, although not as

  7     direct as things like would you switch ad

  8     servers?

  9                     More, you know, where -- you're

10      asking about the first interview, and the

11      first interview was not as specific.

12             Q        Did the DOJ tell you anything

13      about its investigation, its status or its

14      goals or anything like that during that

15      first meeting?

16             A        Not necessarily.

17             Q        Did the DOJ show you any

18      documents in that first meeting?

19             A        No.

20             Q        Did you give the DOJ any

21      documents in that first meeting?

22             A        No.

23             Q        What about the second meeting,

24      when did that happen?

25             A        My counsel may remember, but


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  2     that was pretty recently.               Earlier this

  3     year?

  4            Q        Okay.        And was that in person or

  5     by video?

  6            A        By video.

  7            Q        And who was present at that

  8     meeting?

  9            A        Myself and my counsel, DOJ.

10      Don't remember.

11             Q        Do you recall --

12             A        No.

13             Q        And how long was that meeting?

14             A        Again, maybe an hour, hour and a

15      half.

16             Q        And what did the DOJ ask you

17      about in that meeting?

18             A        Similar questions to the

19      questions you heard today about switching,

20      you know, would we switch?                Have we thought

21      about switching ad servers?

22                      They asked about header bidding.

23      They asked about unified pricing rules.

24      And, yeah, it was a lot of the line of

25      questioning that you heard this afternoon.


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  2            Q        What did they ask you about

  3     header bidding?

  4            A        They had asked us if we used it?

  5     Did we think it was a threat to Google's

  6     business?       How did -- you know, do we

  7     implement it?         Definition of it.            Those

  8     things.

  9            Q        And what did you say about

10      header bidding?

11             A        My line on it is it's been

12      around since we've been running

13      programmatic.         So it is a, I would say,

14      necessary form of -- necessary form and

15      tactic.

16                      Google is a part of it, levels

17      the playing field for us a little bit, and

18      I think it -- some of the line of

19      questioning was around do we think it's a

20      threat to Google's business?

21                      And I -- you know, I think I

22      would say it's -- Google is doing fine with

23      it.    If they didn't have it, I'm sure it

24      might be different, but I didn't feel

25      strongly about how it's impacting Google's


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  2      business because, again, I'm only speaking

  3      for my business as the publisher.

  4              Q        And what did they ask you about

  5      UPRs?

  6              A        They asked me about unified

  7      pricing rules.          Do we use it?       How do we

  8      think, you know, it's working behind the

  9      scenes, and did we speak favorably to it?

10                        I had suggested -- sorry, that's

11       what they asked.

12               Q        And what did you say in

13       response?

14               A        I said that for our team to

15       manually be changing bids all the time is a

16       pretty laborious task.          So my ad ops team

17       and my programmatic technical account

18       managers like using it.

19                        How it works behind the scenes,

20       I couldn't speak to.

21               Q        So you liked the UPR

22       functionality?

23               A        Like?

24                        MR. GOLD:    Objection.           Form.

25      BY MR. JUSTUS:


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  2            Q        Yeah, I'm sorry, Mr. Gold, I

  3     grew up in the Appalachians, so the accent

  4     comes out sometimes.

  5                     But are you in favor of the UPR

  6     functionality?

  7                     MR. GOLD:    Objection.

  8            A        Yes, we are.

  9            Q        The DOJ didn't ask you anything

10      about UPRs earlier today, did it?

11                      MR. GOLD:    Objection.            Form.

12             A        They did not.

13             Q        Did the DOJ ask you anything

14      about header bidding earlier today?

15             A        They did not.

16             Q        Other than you, Mr. Blom, are

17      you aware of anyone else from BuzzFeed who

18      met with the DOJ regarding Google's ad

19      technology business?

20             A        No, I am not.

21             Q        Did you meet with anyone else

22      regarding an investigation into Google's ad

23      technology business?

24             A        No, I have not.

25             Q        So, Mr. Blom, understanding,


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  2     BY MR. JUSTUS:

  3              Q        Mr. Blom, other than your

  4      lawyer, did you discuss your deposition

  5      today with anyone else?

  6              A        With some internal colleagues,

  7      but not about today, just about the

  8      deposition, in general.

  9              Q        What did you talk about,

10       generally?

11               A        In the past, we had talked about

12       previous prep for things like if I'm asked

13       about header bidding or unified pricing

14       rules and just how -- yeah, as I mentioned,

15       getting feedback from the teams as to how

16       they are using certain things, those are

17       the kind of conversations that I had.

18                        But not in prep for today.       I'm

19       actually dating myself and just talking

20       about in prep for any of the DOJ

21       conversations I've had.

22               Q        So, Mr. Blom, is your positive

23       opinion concerning Google's unified

24       processing rules informed by what you

25       understand the views are of other folks at


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  1                  K. BLOM - HIGHLY CONFIDENTIAL

  2      BuzzFeed?

  3                       MR. GOLD:   Objection.            Form.

  4              A        Yeah, it's informed by my team

  5      that's using them, rather than myself who

  6      is not in the tool every day.

  7              Q        But for the avoidance of doubt,

  8      especially given the objection, Mr. Blom,

  9      it's your view that Google's unified

10       processing rules are a positive thing?

11               A        Yes.

12                        MR. GOLD:   Objection.            Form.

13               A        Yes, it's my view.

14                        MR. JUSTUS:    Matthew, what's

15               your objection specifically?

16                        MR. GOLD:   Leading.         Ambiguous.

17               Compound.

18      BY MR. JUSTUS:

19               Q        Mr. Blom, is it your view that

20       Google's unified processing rules make

21       Google's ad technology work better?

22                        MR. GOLD:   Objection.            Form.

23      BY MR. JUSTUS:

24               Q        You can answer.

25               A        Yes, they do.


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  2                     Does programmatic include all

  3     indirectly sold display advertising?

  4            A        My definition of programmatic

  5     would be anything that is open auction,

  6     PMP/PG or outside vendors, which might not

  7     necessarily compete in the open auction,

  8     like a Taboola or an Outbrain is something

  9     that's going to live outside, but I would

10      view that as within our programmatic stack.

11             Q        What ad formats do you include

12      within programmatic advertising?

13             A        Traditional display, 300 by 250,

14      and all of the ad formats that are standard

15      IAB units.

16             Q        And what do those include?

17             A        All the sizes you want?

18             Q        Would you also include --

19      withdrawn.

20                      So just so we're speaking

21      clearly, when I refer to "BuzzFeed" in

22      questions to come, do you understand

23      BuzzFeed -- let me withdraw that question.

24                      BuzzFeed operates several

25      owned-and-operated properties, correct?


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  2            A        Correct.

  3            Q        What are they?

  4            A        Huffington Post, BuzzFeed.com,

  5     Tasty.co. and Complex.com.

  6            Q        So when I refer to "BuzzFeed,"

  7     will you interpret BuzzFeed to include all

  8     of those properties?

  9            A        I would.

10             Q        Does BuzzFeed distribute content

11      to users through desktop versions of its

12      websites?

13             A        Yes.

14             Q        And does BuzzFeed distribute

15      content to users through mobile websites?

16             A        Yes, we do.

17             Q        Does BuzzFeed distribute content

18      to users through mobile apps?

19             A        Yes.

20             Q        What mobile apps?

21             A        BuzzFeed -- we refer to BuzzFeed

22      as the "big red brand" just to delineate.

23                      So BuzzFeed and Tasty would be

24      the two apps that we have currently.

25                      We have had many apps in the


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  2     past -- sorry, HuffPost app as well -- but

  3     those would be the three that we have at

  4     the moment.

  5            Q        Does BuzzFeed distribute content

  6     to users any other way?

  7            A        Social media and YouTube.

  8            Q        Does BuzzFeed sell desktop web

  9     ad inventory on its properties?

10             A        Yes, we do.

11             Q        Does BuzzFeed sell mobile web ad

12      inventory on its properties?

13             A        Yes, we do.

14             Q        Does BuzzFeed sell in-app ad

15      inventory on its properties?

16             A        Yes, we do.

17             Q        When I say, "environment," I'm

18      referring to desktop web ads, mobile web

19      ads and in-app ads.

20             A        Uh-huh.

21             Q        Given that definition, do

22      advertisers often run ads on different

23      BuzzFeed environments at the same time?

24                      MR. GOLD:    Objection.             Form.

25             A        Yes, they do.


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  2            Q        Do advertisers move their

  3     spending toward the environment providing

  4     the best rate of return?

  5                     MR. GOLD:    Objection.            Form.

  6            A        Yes, they'll optimize, and we

  7     will optimize for them.         And some

  8     advertisers don't care about environment,

  9     they care about results, and so we'll

10      optimize toward a result or we can optimize

11      toward environment.

12             Q        What do advertisers most often

13      care about when it comes to advertising

14      environment?

15             A        Brand safety, quality, user and

16      audience.

17                      So if I could just track that

18      back into all three.         Brand safety is table

19      stakes.      The audience that they're, you

20      know, trying to reach with their ad is

21      going to be the primary objective.                   And

22      then whatever return on ad spend or sort of

23      desired result they want is going to be

24      sort of the most important thing.

25                      But that middle piece, the


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  2     audience that they're reaching, is usually

  3     the most important.

  4            Q        I'm sorry, Mr. Blom, I'm

  5     unclear.       What did you say was the most

  6     important thing?

  7            A        Audience delivery.

  8            Q        Is that the same thing as return

  9     on ad spend, or no?

10             A        No.     Audience delivery is -- you

11      know, we're talking about display

12      advertising, and, you know, you're going to

13      want to make sure that your ad reached the

14      intended audience.

15                      Only a small percentage of those

16      that you reach are going to complete the

17      desired outcome you want.              Maybe that's

18      clicking off the ad to their website and

19      buying something.            That's great and

20      important, but that's not the, you know,

21      primary result of every single ad that's

22      served.

23                      So if you think about the

24      intention of the ad that is served, the

25      most important thing is reaching the


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  2     audience.

  3            Q        And how does return on ad spend

  4     factor in?

  5            A        It definitely factors in.          It

  6     may be the reason that you, you know, win

  7     another campaign or win another deal.

  8                     It's important -- you know,

  9     return on ad spend is going to factor in

10      how much did this cost overall and am I

11      getting what I wanted from the publisher or

12      from the like ad targeting and unit that I

13      delivered?

14                      Return on ad spend is extremely

15      important.        It's just when I say the most

16      important thing is audience, I can

17      deliver -- everyone knows that display

18      advertising can deliver on audience every

19      time.      Not everyone knows it can deliver on

20      return on ad spend every time.

21             Q        If an advertiser is experiencing

22      on one environment that is providing a

23      relatively higher return on ad spend than

24      another environment, will the advertiser do

25      any sort of shifting?


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  2            A        Yeah, they will.

  3                     MR. GOLD:    Objection.            Form.

  4            A        Yes, they will.

  5            Q        How -- what kind of shifting

  6     will they do?

  7            A        We may take budget from, you

  8     know, entirely mobile and move it to

  9     desktop if they're seeing that desktop

10      click-out rates are working more, if you

11      will.

12                      You know, we're flexible to what

13      the advertiser needs and to what is getting

14      the advertiser the most results.                   We do

15      want them to run everywhere.

16                      But, you know, in addition to

17      environment and, you know, the definitions

18      of mobile or desktop or mobile web, you

19      also have, are you running this ad across

20      HuffPost or Tasty or BuzzFeed?              Which, as

21      you can imagine, you know, you're going to

22      get different audiences when you reach

23      those different brands.

24             Q        Does BuzzFeed do anything to

25      encourage advertisers to move in the


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  2          A       So shifting -- to clarify,

  3   you're asking -- are we talking about to

  4   shift more money from desktop to mobile web

  5   or to --

  6          Q       Correct.

  7          A       Yes.   You know, a little less

  8   so.    I think when we're pitching

  9   advertisers, a lot of our traffic is going

10    to be mobile, mobile web and apps.          So

11    we're kind of anchoring the fact that we

12    want them to sell -- that we want them to

13    come in and buy mobile.

14                   But if an advertiser only wants

15    desktop, we're happy to do that.

16           Q       What ad formats can advertisers

17    purchase on BuzzFeed?

18           A       I would clarify -- I would

19    describe them as standard IAP units, i.e.,

20    a 300-by-250 ad.

21                   And then the other bucket of ads

22    are going to be custom display and then

23    native ads.

24
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  1            K. BLOM - HIGHLY CONFIDENTIAL

  2




10                  And so we have several units

11    like that, and we're constantly iterating

12    and testing like what are custom units that

13    would get the ad market excited.

14                  And then native units, as I

15    mentioned, you know, when we make branded

16    content, a native unit would look something

17    like a paid placement for a branded piece

18    of content or a branded video that we have.

19                  So standard display -- within

20    the standard display bucket, I also should

21    say we have standard video products as

22    well, so pre-roll ads, right?

23                  All of these things you can buy

24    several different ways.        We have custom

25    units and then we have native units.
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  1                K. BLOM - HIGHLY CONFIDENTIAL

  2            Q        Do individual advertisers on --

  3     sorry, Mr. Blom.             Let me restart my

  4     question.

  5                     Do individual advertisers on

  6     BuzzFeed purchase ads in multiple formats

  7     or a single format?

  8                     MR. GOLD:        Objection.            Form.

  9            A        Usually, multiple formats.

10             Q        And how do advertisers on

11      BuzzFeed shift their spending between

12      formats based on the rate of return from

13      their advertising spending?

14                      MR. GOLD:        Objection.            Form.

15             A        From a direct seller

16      perspective, it would be a conversation of

17      mid campaign performance, or something like

18      that.

19             Q        Can you expand on that a little

20      bit?

21             A        Yeah.        So if we have sold

22      advertising across many formats to a

23      client, you know, we would have something

24      like weekly check-ins with them.                       We'd be

25      sharing, you know, weekly campaign reports


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  1                K. BLOM - HIGHLY CONFIDENTIAL

  2     and making recommendations that maybe they

  3     should shift formats and, you know, having

  4     that conversation with the client about,

  5     you know, do you want to put more into the

  6     spotlight unit versus the display -- the

  7     standard display unit?         You know, you have

  8     the capability to do those things.

  9            Q        Do -- how frequently will

10      advertisers switch between, let's say, a

11      standard static ad and a video standard ad?

12             A        They would have to start -- I

13      don't think someone buying standard static

14      ads are going to switch to video if they

15      didn't start with video.

16                      So just speaking to the ad

17      buying community a little bit more, there's

18      typically online video buyers that might

19      act and be a different team than the

20      display media buyers.        So we have to think

21      about who we're talking to.

22                      So if someone who was running

23      display ads, I don't think they're going to

24      move to video ads unless they're sitting

25      there with the video that they need.


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  1                  K. BLOM - HIGHLY CONFIDENTIAL

  2      to our sellers and tell them like, Hey, let

  3      the clients know that we have this new

  4      capability.

  5                       So there is a go-to market

  6      around the advertising units that we have.

  7              Q        Through what transaction types

  8      does BuzzFeed sell ad inventory?

  9                       I know you talked a little about

10       this earlier, so I'm sorry to retread

11       ground.

12               A        That's fine.

13                        My tiers would be -- and this is

14       directly all waterfall -- direct

15       transaction type, so IO basis, manual;

16       programmatic guarantee; private

17       marketplaces; and then open auction.

18               Q        Do advertisers on BuzzFeed buy

19       through multiple transaction types?

20               A        They might.

21                        MR. GOLD:   Objection.            Form.

22      BY MR. JUSTUS:

23               Q        How often do they?

24               A        It depends on the advertiser and

25       how big the advertiser is.


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      GOOGLE                         Highly Confidential

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  1                K. BLOM - HIGHLY CONFIDENTIAL

  2                     You know, if you're speaking for

  3     a really big advertiser, like PMG, they

  4     might not even -- they're buying through

  5     multiple transaction types, and I don't

  6     even think they necessarily know how much

  7     they're running on open auction versus

  8     direct versus something else, so -- but a

  9     smaller advertiser may not be, may not be

10      running through all of them.

11                      But I would say -- I don't know

12      the percentage of how often some of them

13      would be running multiple, but -- yeah, I

14      can't give that percentage.

15             Q        How does return on investment

16      impact advertisers' transaction type

17      purchases?

18             A        I think it's important.            I think

19      advertisers are constantly looking at their

20      budget, and return on investment is, you

21      know, increasingly more important than

22      something like brand awareness.

23                      And just so you know how I'm

24      defining "return on investment" would be,

25      okay, did I truly net -- you know, I gave


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  2     BuzzFeed $1, did I make $1.50, versus the

  3     traditional display advertising world of I

  4     gave BuzzFeed many dollars and I got this

  5     brand study back that told me it did well.

  6                     You know, both of those are a

  7     version of return on investment, but former

  8     that, you know, give $1, get $1.50, that's

  9     more realtime and more direct than what

10      would be the brand study where you're sort

11      of saying like, we commissioned a research

12      study to tell us that there was a return on

13      investment here.

14             Q        So what happens if an advertiser

15      realizes that a particular transaction type

16      is giving a better return on investment?

17                      MR. GOLD:    Objection.             Form.

18             A        They would switch their budget

19      to that transaction type.

20             Q        Mr. Blom, we're going to do

21      something that we have not yet done today.

22      We're going to look at a document.

23                      MR. JUSTUS:     Can we bring up

24             Tab 5?

25                      MR. ARTEAGA:     Ken, I think there


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  1                  K. BLOM - HIGHLY CONFIDENTIAL

  2              Q        That's helpful.

  3                       So we can put this document

  4      aside.

  5                       MR. JUSTUS:    Can we bring up

  6              Tab 6?

  7                       MR. GOLD:   And if we could do

  8              the same thing with a PDF of the

  9              document?

10                        (Exhibit 2, document entitled

11               "The AdTech Monthly Update," Bates

12               stamped BUZZ-LIT-001211 through 222,

13               was remotely introduced and provided

14               electronically to the reporter, as of

15               this date.)

16      BY MR. JUSTUS:

17               Q        Mr. Blom, I'm now showing you

18       Blom Exhibit 2.

19                        What is this document?

20               A        This is an update from our

21       AdTech team.

22                        As I mentioned previously, our

23       AdTech team is a division of our

24       advertising that's going to focus on user

25       behavior and the actual implementation of


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  2     ads.     And they sit within our tech team.

  3                     And then this e-mail is to dev

  4     team and ad stakeholders, which I'm an ad

  5     stakeholder on this e-mail.

  6                     And it's a monthly update about

  7     all the activity and things that they are

  8     working on, optimizations to improve

  9     monetization or, as I mentioned, you know,

10      we're always tinkering with custom units.

11      You know, this may highlight -- here's a

12      new feature to a custom unit we just tried.

13             Q        Who is Bryan Harris?

14             A        Bryan Harris is the head of our

15      AdTech user experience group, and he sits

16      on the tech team.            He is a project --

17      essentially, a product dev and project

18      manager for the AdTech team.

19             Q        Is Blom Exhibit 2 a true and

20      accurate copy of the monthly AdTech update?

21             A        Yes, it is.

22             Q        And this was -- was this

23      prepared in the ordinary course of

24      business?

25             A        Yes, and still is today.


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  2   can deliver more?

  3                  Which is, we kind of created the

  4   Bright playlist here as a format that

  5   helped us to deliver more O&O video.

  6          Q       And is this talking about direct

  7   or indirectly sold ads?

  8          A       This is largely talking about

  9   direct sold ads.

10           Q       Can we go to 1219?

11                   And do you see -- can we --

12    sorry, can you roll -- give me one second.

13                   Can you roll down a little bit

14    on that page?

15                   There we go.
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13           Q       Thank you.   We can pull that

14    document down.

15                   Mr. Blom, who are BuzzFeed's key

16    competitors in the sale of advertising

17    inventory?

18           A       Peer sets that we would compare

19    ourselves to could be a Vox, previously a

20    Vice, you know, Bustle Media Digital Group.

21    Those are going to be your like direct

22    digital display peer set that we think

23    about.

24                   You can also think about your

25    non-traditional digital, which is going to
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  2     competing with Facebook because that would

  3     be a stretch of a goal that we would, you

  4     know, not be able to motivate teams on.

  5            Q        Well, why did BuzzFeed partner

  6     with Google's AdX AdExchange to sell

  7     programmatic ads in 2017?

  8            A        It just -- we -- we were late to

  9     running programmatic ads.           We knew that

10      Google's AdX was a source of demand and

11      inventory and can get us up to speed as

12      fast as humanly possible, while we also

13      build out the rest of our tech stack.

14                      So starting with Google AdX and

15      then moving to the other players and

16      partners to build out that competitive set

17      and create our ad stack and, you know, to

18      this day, we're constantly optimizing what

19      that looks like.

20                      Sorry if I'm not answering the

21      question why, you know, it felt like a

22      natural -- a natural best way to start

23      getting into programmatic as that was new

24      for us in 2017.

25             Q        Was Google -- let me restart


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  2     that question.

  3                     Was BuzzFeed's launch of

  4     programmatic ads sales through AdX

  5     successful?

  6            A        Yes, it was.

  7            Q        Can you tell us about that

  8     success?

  9            A        You know, I don't remember the

10      numbers because it was a while ago, but we

11      felt like launching programmatic, we had

12      some attainable goals as to how much

13      revenue we felt we were going to get from

14      programmatic.         And, you know, AdX being one

15      of the partners and delivering demand with

16      us, it helped us hit those goals.

17                      Try to compare it to some of

18      these other companies, like a Hearst or a

19      Conde that's had programmatic stacks up for

20      15, 20 years, and then here we are in 2017

21      saying, We're going to start now, right?

22                      These things get better over

23      time.      They don't start out extremely

24      successful -- or I -- and then when I say,

25      "extremely successful," it's not like, hey,


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  2      if you turn on programmatic, in one month,

  3      you're going to have $100 million.                  That's

  4      not what we set out to do.              We set out to

  5      build incrementally.

  6                       And I think through AdX and just

  7      speaking of the success, I think we found

  8      that incremental growth.

  9                       MR. JUSTUS:     Mr. Blom, if it's

10               okay with you, we're going to take a

11               short break.        I've got some more

12               questions, but I need to confer with

13               my colleague.

14                        THE WITNESS:      Yeah, sure.

15                        MR. JUSTUS:     We'll be back in

16               five.

17                        THE VIDEOGRAPHER:           The time is

18               3:03 p.m., and we are going off the

19               record.

20                        (Recess taken 3:03 p.m.)

21                        (Resumed 3:12 p.m.)

22                        THE VIDEOGRAPHER:           The time is

23               3:13 p.m., and we're back on the

24               record.

25      BY MR. JUSTUS:


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  2              Q        Mr. Blom, does BuzzFeed sell ads

  3      through exchanges other than Google's AdX

  4      AdExchange?

  5              A        Yes.

  6              Q        Roughly, how many ad exchanges

  7      does BuzzFeed sell ads through?

  8              A        20 to 30.

  9              Q        Can we bring up Tab 23?

10                        (Exhibit 3, ads.txt file, 8

11               pages, was remotely introduced and

12               provided electronically to the

13               reporter, as of this date.)

14                        MR. GOLD:   One second.           I'm just

15               opening up Tab 23, if it's okay with

16               you guys.

17      BY MR. JUSTUS:

18               Q        So, Mr. Blom, I'm showing you

19       what we'll mark as Blom Exhibit 3.

20                        What is this document?

21               A        Our ads.txt file.

22               Q        What is that?

23               A        It is where -- ads.txt allows

24       you to see the exposure to, you know,

25       anything that is happening within ad calls


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  1                K. BLOM - HIGHLY CONFIDENTIAL

  2     on a website.

  3            Q        Does this list ad tech products

  4     that sell BuzzFeed's inventory?

  5            A        Yes, it is.

  6            Q        And is this a true and accurate

  7     copy of BuzzFeed's ads.txt file?

  8            A        Yes.

  9            Q        And is this something that

10      BuzzFeed prepares in the ordinary course of

11      business?

12             A        By "prepare," I mean anyone can

13      access this file.            So I don't think we

14      actually prepare it, but this is -- yeah,

15      this would be true and accurate

16      information.

17             Q        And this is created in the

18      course of BuzzFeed's ordinary business,

19      correct?

20             A        Correct.

21             Q        Do you see toward the top

22      Magnite on here?

23             A        Yeah.

24             Q        Does that mean that BuzzFeed

25      sells inventory through Magnite?


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  1                K. BLOM - HIGHLY CONFIDENTIAL

  2            A        Yes.

  3            Q        I should ask, what is Magnite?

  4            A        A sell-side platform, similar to

  5     an AdX.

  6            Q        And do you see -- if you roll

  7     down, do you see PubMatic on here?

  8            A        Yes.

  9            Q        Does that mean that BuzzFeed

10      sells inventory through PubMatic?

11             A        Yes, we do.

12             Q        What is PubMatic?

13             A        Similar to Magnite, another ad

14      exchange.

15             Q        And then if you roll maybe back

16      up, do you see Indexexchange?

17             A        Yes.

18             Q        And does that mean that BuzzFeed

19      sells inventory through Indexexchange?

20             A        Yes, we do.

21             Q        What is Indexexchange?

22             A        Similar to PubMatic and the

23      others, and others, a sell-side platform.

24             Q        And then do you see -- we're

25      going to have to scroll and look through


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  2     this -- do you see OpenX?

  3            A        Yes.

  4            Q        And so does that mean BuzzFeed

  5     sells inventory through OpenX?

  6            A        Yes, we do.

  7            Q        And what is OpenX?

  8            A        Another sell-side platform.

  9            Q        And are there -- are there

10      dozens of other entities on this list

11      through which BuzzFeed sells ad inventory?

12                      MR. GOLD:     Objection.

13             A        Yes.     Probably not as big as the

14      ones that you're seeing up at the top here.

15      And our relationships with them could ebb

16      and flow.

17                      And so there could be dozens

18      more.

19             Q        Is Amazon Publisher Services on

20      here?

21             A        They should be.

22             Q        Can we roll up?

23             A        It should be Amazon Tam.

24                      There they are.

25             Q        Is Amazon listed as "APS"?


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  1                  K. BLOM - HIGHLY CONFIDENTIAL

  2              A        Yes.

  3              Q        What is APS.

  4              A        Amazon Publisher Services.

  5              Q        Tell us about that.         What does

  6      it do?

  7              A        So it would be similar to the

  8      Magnite and/or AdX Exchange, but it's

  9      Amazon's exchange.

10                        And we are getting supply --

11       sorry, we're getting demand, and we're

12       offering supply to Amazon's exchange.               And,

13       basically, this is Amazon fulfilled

14       inventory from their platform.

15               Q        We can pull that document down.

16                        MR. JUSTUS:    Can we bring up

17               Tab 3?

18                        (Exhibit 4, Power Point

19               presentation entitled "BuzzFeedInc

20               Programmatic Capabilities," Bates

21               stamped BUZZ-LIT-000272 through 342,

22               was remotely introduced and provided

23               electronically to the reporter, as of

24               this date.)

25      BY MR. JUSTUS:


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  2     thing that each of the SSPs do.

  3                     So, you know, as I kind of

  4     mentioned earlier, on the publisher side,

  5     I'm trying to be as friendly and open and

  6     available to whatever advertisers' needs

  7     are.     And if that means needing to work

  8     with every SSP possible, we will do that.

  9            Q        Do SSPs sometimes market

10      themselves as having access to unique

11      demand?

12                      MR. GOLD:    Objection.            Form and

13             foundation.

14             A        Yes, I believe they do.

15             Q        You can answer.

16             A        I believe they do.          How they're

17      winning clients over and -- I guess I can't

18      speak to sort of exactly what they're

19      saying to advertisers.

20             Q        Do you believe that many SSPs

21      market themselves in that way?

22                      MR. GOLD:    Objection.            Form and

23             foundation.

24             A        I believe many would, in an

25      effort to compete.


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  2            Q        Mr. Blom, what's a demand-side

  3     platform?

  4            A        DSP, demand-side platform, would

  5     be a platform that would help enable us.

  6                     So, I'm sorry, I'm blanking on

  7     who the DSPs are, but this is the buying

  8     exchange and where the advertisers would be

  9     buying.      So like a Trade Desk.

10             Q        Does BuzzFeed work directly with

11      any DSPs?

12             A        Yes, we do.     Trade Desk is a big

13      partner of ours.

14             Q        How does BuzzFeed work with The

15      Trade Desk?

16             A        That deck that you saw, that

17      go-to-market deck, that would be presented

18      to The Trade Desk because that -- those are

19      the people who are going to be making

20      buying decisions, and we would want to make

21      sure that they know every capability that

22      we have.

23                      And so we're selling to them as

24      much as we can.

25             Q        Are you familiar, Mr. Blom, with


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  2              I look at my colleague -- I think we

  3              are finished for now.

  4                       THE WITNESS:      Thank you.

  5                       MR. GOLD:    And I think that's a

  6              natural time to take another break.

  7                       You want to take five minutes,

  8              Ken, to stretch your legs?

  9                       THE WITNESS:      Sure.       Thanks,

10               all.

11                        THE VIDEOGRAPHER:           The time is

12               3:32 p.m., and we are going off the

13               record.

14                        (Recess taken 3:32 p.m.)

15                        (Resumed 3:43 p.m.)

16                        THE VIDEOGRAPHER:           The time is

17               3:43 p.m., and we are back on the

18               record.

19      CONTINUED EXAMINATION BY

20      MR. GOLD:

21               Q        All right.     Good to see you

22       again, Mr. Blom.

23                        Just now, Google's counsel asked

24       you some questions about header bidding,

25       right?       And they were asking about the


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  2     downsides of header bidding -- or potential

  3     downsides to header bidding.

  4                     What does BuzzFeed do to manage

  5     those potential downsides to header

  6     bidding?

  7            A        Yeah, the downsides cited were

  8     malware or latency.

  9                     That could be because of a

10      particular partner that is bidding within

11      the system, and we can identify that.              Not

12      everything is that easy to identify, but we

13      would be able to identify things like, hey,

14      we add this partner and now our latency has

15      gone up.       Is it the partner's problem?

16                      And we would go talk to the

17      partner.

18                      So no, nothing programmatic.

19      Out advertising is set it and forget it.

20      You're constantly talking to your partners.

21      You're making sure that they're not doing

22      anything that you don't want them to be

23      doing and, you know, we have a lot of

24      checks and balances and teams that are

25      looking into things like latency or things


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  2     like, you know, how much malware we have on

  3     a site, something lake that.

  4            Q        So it sounds like BuzzFeed is

  5     able to manage those potential downsides?

  6                     MR. JUSTUS:        Objection.          Form.

  7            A        Yes, we are.

  8            Q        Okay.        I'm going to shift -- one

  9     second.

10                      And why does BuzzFeed continue

11      to use header bidding despite those

12      potential downsides?

13                      MR. JUSTUS:        Objection.          Form.

14             A        Yeah, we believe that it is

15      still -- the positives outweigh the

16      negatives, which, you know, having more

17      competition is something we believe helps

18      us and helps our advertising revenue.

19                      It could come with certain risk,

20      and it does come with the fact that we need

21      to employ people to manage certain things

22      and keep an eye on stuff.               But, you know,

23      we view the competition and the even

24      playing field that header bidding offers as

25      a positive.


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  2     an advertiser and say, I want to have a

  3     conversation with you about display ads and

  4     display ads only, they would probably not

  5     get the meeting.

  6                     You know, the advertisers want

  7     more.      They want the bells and -- if they

  8     are going to have a direct relationship

  9     with an IO and guarantee more money, it's

10      not going to be in just display.

11                      And I guess to elaborate on

12      that, we are trying to get advertisers to

13      buy several products from us with our

14      direct sold strategy, not just one.                And in

15      buying several products, we get a higher

16      average deal size.

17                      So, you know, our sellers are

18      sort of instructed to sell more products,

19      get the highest average deal size you

20      possibly can, rather than a smaller deal

21      that, you know, is not going to be as

22      beneficial for us from a revenue

23      perspective.

24             Q        Fair to say it would not be easy

25      to switch a large amount of advertising


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  2     from open auction to direct display?

  3            A        It would not.

  4            Q        Why would it not be easy to

  5     switch a large amount of advertising from

  6     open auction to direct display?

  7            A        I believe open auction is

  8     different demand than what a direct sold

  9     sales team is going to go out there and

10      get.

11                      If you think about open auction,

12      it's hundreds of advertisers spending

13      anywhere from $5 to $100,000, right, in a

14      given month or week, if you will.

15                      So we would have to have a much

16      bigger footprint in order to find all those

17      clients.       And then, even if I were to do

18      that, am I really excited about the seller

19      that sold the $5 deal?         No, I'm not.        You

20      know, and it would be a needle in the

21      haystack to sort of kind of manage that

22      process.       It would take more time, more

23      people, and more effort.

24                      And then, I guess, furthermore,

25      which is what I lead with, is I don't think


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  2      the advertising community necessarily wants

  3      that.

  4              Q        Okay.      I'm going to go to

  5      Google's Exhibit Number 2.

  6                       If you could pull that up,

  7      please.

  8                       It's Tab 6 as well.

  9                       Mr. Blom, can you see it?

10               A        I don't have anything on my

11       screen.

12                        MR. GOLD:      Jesus, are you the

13               one pulling it up right now?

14                        THE VIDEOGRAPHER:            Yes, sir.

15               One moment.

16                        MR. GOLD:      All right.

17      BY MR. GOLD:

18               Q        You're on the right page

19       already.

20                        So right now on the screen I see

21       a document, page 9 out of 12 on the PDF.

22                        MR. GOLD:      And if you could

23               scroll a little lower, so we can see

24               the Bates number, Jesus?

25                        So I see the Bates number is


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  2                     That said, manual process and

  3     it's been hard to know the incrementality

  4     of these price floors.

  5            Q        So before UPR, other publishers

  6     could have decided to use different price

  7     floors for different exchanges, right?

  8            A        Correct.

  9            Q        And before UPR, another

10      publisher could have decided to set a

11      higher price floor for AdX than for other

12      exchanges, right?

13             A        I believe so, yes.

14             Q        And that would have potentially

15      shifted transactions from AdX to other

16      exchanges, right?

17             A        Potentially, if that's how

18      demand worked, yeah.

19             Q        AdX is, by far, the largest

20      exchange for BuzzFeed, right?

21             A        Correct.

22             Q        And AdX could be, by far, the

23      largest exchange for other publishers, too,

24      right?

25             A        I wouldn't know, but yeah.


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  2              Q        And before UPR, other publishers

  3      could have concluded that they wanted to

  4      set different price floors for different

  5      exchanges to reduce their dependence on

  6      AdX, is that fair?

  7              A        Potentially.

  8              Q        And you've decided for

  9      BuzzFeed -- uniquely for BuzzFeed, that

10       it's not worth the hassle to set different

11       price floors for different exchanges,

12       right?

13               A        Correct.    I think it would be in

14       terms of, you know, environments that we

15       spoke about and all of the brands that

16       we're managing, we view UPR as a tool that

17       allows us to create efficiency and will

18       live with, you know, that price floor being

19       set in that way.

20                        MR. GOLD:    Jesus, we can take

21               down this document.

22      BY MR. GOLD:

23               Q        But other publishers could have

24       decided that for them, based on their

25       specific circumstances, based on their


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  2     find that it doesn't increase.                  Maybe

  3     demand is decreased or maybe there's other

  4     factors as to how that auction was going.

  5                     So I think, you know, you don't

  6     want to test too many things that could

  7     impact that revenue.

  8            Q        So, you know, you used the word

  9     "experiment."

10                      Does UPR restrict a publisher

11      from experimenting with price floors like

12      that?

13             A        I guess so, but you don't have

14      to use UPR.        So I think, in theory, using

15      UPR would restrict that, yeah.

16             Q        But it would be better for

17      publishers to have the option to set

18      different price floors?

19             A        Yes, if, you know, you have the

20      time and team and capability to do those

21      things.

22             Q        Okay.        That makes sense.         I'm

23      going to shift gears away from UPR.

24                      And I recall that -- or do you

25      recall that counsel asked you some


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  2     advertising result than you did from

  3     display.       And so people would not want --

  4     advertisers would not want to treat those

  5     budgets equally because paid search

  6     historically performs better than display.

  7                     So you break out your budgets in

  8     that way.

  9            Q        You answered about paid search.

10      I was thinking about social.

11             A        Sorry, yeah, and I only say paid

12      search because my Reprise -- just speaking

13      to my Reprise days was mostly paid search,

14      and that was the very beginning of like the

15      first Facebook ad.

16                      So you had a lot of advertisers

17      who had no idea what the ROI of what those

18      social ads could be.

19                      If you'd like me to fast forward

20      to today --

21             Q        Sure.

22             A        -- yeah, social budgets are

23      still pretty broken out.          They're different

24      than display, and they're different than

25      online video.


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  2                     Some advertisers have them sort

  3     of converged, and they do a good job

  4     optimizing across all of them and maybe one

  5     team buys all of them.          It just depends on

  6     how big an advertiser you are, right?

  7                     So a lot of your

  8     direct-to-consumers brands aren't going to

  9     have three different people buying ads.

10      They'll have one person.

11             Q        Why are they separated, the

12      social budgets, the display budgets, the

13      teams?

14                      MR. JUSTUS:     Objection.

15             A        Yeah, budgets will be

16      separated -- you know, similar answer I

17      gave to paid search, but effectiveness is

18      going to be different from social to

19      display.

20                      And social over the years is

21      more effective than display and, therefore,

22      that's why you have these different

23      budgets.

24             Q        Okay.

25                      MR. GOLD:    Jesus, can we open up


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  2      OpenX?

  3                       MR. JUSTUS:      Objection.         Form.

  4              A        Same.      Don't know off the top of

  5      my head.       If you're asking for a gut

  6      ballpark answer, they're going to be about

  7      5 percent, too.

  8              Q        Okay.

  9                       MR. GOLD:      Jesus, could we

10               scroll down on the document?

11      BY MR. GOLD:

12               Q        I see another that says:

13       "Colossus."

14                        Do you see that, Mr. Blom?

15               A        Yes.

16               Q        Could you ballpark the --

17       BuzzFeed's programmatic display revenue

18       from Colossus?

19                        MR. JUSTUS:      Objection.         Form.

20               A        I'm just going to keep caveating

21       the same, going off the top of my head, my

22       gut reaction would be 1 to 2 percent.

23               Q        1 to 2 percent.

24                        On the bottom, I see Ozone.

25               A        Yeah.


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  2     would you expect advertisers to look for

  3     other websites to advertise on?

  4                     MR. GOLD:        Objection.            Form.

  5            A        I think they would.             I mean, we

  6     didn't see this with price of advertising,

  7     but we saw it with ATT and effectiveness of

  8     advertising, and I think advertisers did

  9     look other places.

10                      I don't think they looked to

11      websites.       I think they looked to places

12      like TikTok.

13                      So we saw your question play out

14      recently, and it -- yeah, it doesn't mean

15      if something happens on Facebook, do

16      advertisers -- do websites benefit, because

17      there is the looming TikTok of it all.

18             Q        Yeah.        So let me ask you a

19      question.

20                      If the rate of return for

21      advertising on Facebook went down and open

22      websites went up, would you expect

23      advertisers to move advertising toward

24      open-web websites?

25                      MR. GOLD:        Objection.            Form.


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  2            A        Yes, especially if you're saying

  3     that the rate of return has gone up for

  4     some reason compared to social.

  5            Q        And if the rate of return for

  6     direct sold advertising goes up relative to

  7     open auctions, would you expect advertisers

  8     to move toward direct purchases?

  9                     MR. GOLD:    Objection.             Form.

10             A        I'll answer that with a maybe.

11      I think advertisers, even if -- you know,

12      the classic saying is, We've got a better

13      mousetrap and we will get you better

14      results.

15                      Advertisers like what's easy.

16      And they -- probably, many would still

17      continue to buy in the open auction because

18      that's easy.         Whereas I may be saying, hey,

19      buy with us direct over here, I'm going to

20      get you better results, it sounds like more

21      work, so they won't do it.

22             Q        Some would?

23             A        Some would --

24                      MR. GOLD:    Objection.             Form.

25             A        -- and I think some would not.


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